Case 8-18-72852-reg Doc 14 Filed 06/22/18 Entered 06/22/18 10:50:36

Return Date: Jnll 23, 2018, ar lzsogm

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re:

DOREEN HOFFMAN, Case NO. 8-18-72852-1'eg
Chapter 11

Debtor(s)

X

 

NOTICE OF MO'I`ION

PLEASE TAKE NOTICE that upon the annexed application of
Doreen Hofl`man, Debtor-in-Possession , a hearing will be held before the Hon.

Robert E. Grossman J Bankruptcy Judge, to consider the motion for an Order

granting relief as follows:

Motion to Emgloy Bankruptcy Counsel, Thaddeus R. Maciag, Esg., Maciag Law LLC, as co-counsel to

the Debtor-in-Possession.

 

 

 

 

Date and time of hearing: July 23, 2018, 1:30pm
Location: U.S. Bankruptcy Court

290 Federal Plaza

Central Islip, New York 11790

Courtroom# 860 , Floor

Dat€d: June 21 2018 v/\
Signa y \`

 

/\J
//

Pr` name; John P. Fazz , Esq.

Address: 26 Broadway, 215t Floor
New York, NY 10004

Phone: 201-529-8024

Email€ ifazzio@fazziolaw.com

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UNITED .STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

x
In re:
DOREEN HOFFMAN, Case No. 8-18-72852-reg
Chapter 11
Debtor(s)
x
APPLICATION IN SUPPORT OF MOTION
To THE HoN. Roberc E. crossman , Bankrupfcy J“dse
I, Doreen HoFf:man, Deb'cor-in-Possession , , make this application in

 

support of my motion for the following relief:

To Employ Bankruptcy Counsel, Thaddeus R. Maciag, Esg., Maciag Law LLC, as counsel to the Debtor

 

 

In support of this motion, I hereby allege as follows:

 

ghillly ex xperienced m Chanter ll Ban_ln'untcy. Mr. Maciag has served as Lead Attorney to the Debtor-
in-Possession' in more than 95 Chapter 11 Reorganization cases. He has filed an application for
Admission Pro Hac Vice in this Court; he will be assisted in this case bv local New York counsel
John P. `Fazzio Esg. Per my agreernent with Mr. Maciag and l\/Ir. Fazzio. that thev will not be dunlicatin£
work on this case, nor will they be billing me for inter-attorney discussions between them.

 

 

 

 

 

 

 

Wherefore, Applicant prays for an Order granting the relief requested.

Dated: 6/20/2013 m/<?</ nj/-\

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTR[CT OF NEW YORK

 

 

-»»-- -~-- x
In re:
DOREEN HOFFMAN, CaSe 1\10-3'13'72352“Wla
Chapter ll
Debtor(s)
-~~~ x
CERTIFICATE OF SERVICE
The undersigned certifies that on JuNE 21. 2018 , a copy of the annexed Motion was

 

served by depositing same, enclosed in a properly addressed postage-paid envelope, in an official
depository under the exclusive care and custody of the United States Postal Service within the
State ofNew York, upon [below specify the name and mailing address of each party served/z

/ M /
Dated: lime 20 2013 1 M

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Thaddeus R. Maciag, Esq.

MACIAG LAW, LLC
475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

Proposea' Co-Counsel to the Debtor-in-Possession

 

 

ln re: Case No.: 8-18-72852-reg

DOREEN HOFFMAN,

Debtor-in-Possession.

Chapter 11

Judge: Hon. Robert E. Grossman

 

 

 

APPLICATION FOR ENTRY OF
AN ORDER AUTHORIZING THE RETENTION
OF MACIAG LAW, LLC AS COUNSEL TO THE DEBTOR

The application of DOREEN HOFFMAN (the “Applicant”), being the above-referenced
Debtor-in-Possession (“Debtor”), applying by and through Thaddeus R. Maciag, Esq. of
MACIAG LAW, LLC (the “Finn”), for entry of an order authorizing the retention of Maciag Law
LLC as co-counsel to the Debtor, respectfully represents:

I. INTRODUCTION

1. T his Application (the “application”) is filed seeking authorization to retain and employ

Bankruptcy Counsel in the instant Chapter ll Reorganization case.

2. On April 26, 2018 (the “Petition Date”), the Debtor filed a petition seeking an Order for
relief under the provisions of Chapter l l of Title l l of the United States Code, l 1 U.S.C.
§§ 101 et seq. (the “Bankruptcy Code”).

3. Since the Petition Date, the Debtor has continued in the management of her property as
Debtor-in-Possession pursuant to Sections 1 107 and 1108 of the Bankruptcy Code. No

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official committee of unsecured creditors or other statutory committee and no trustee has

been appointed in this case.

II. APPLICATION, JURISDICTION AND
STATUTORY PREDICATES FOR RELIEF

By this application the Debtor seeks to employ applicant Thaddeus R. Maciag Esq. and
the law firm Maciag Law LLC..
This Court hasjurisdiction over this Application pursuant to 28 U.S.C. Sections 157 and
134 and the “Standing Order of Referral of Cases to Bankruptcy Judges” dated July 10,
1984 (Ward, Acting C.J.). Venue in this District is proper pursuant to 28 U.S.C. Section
1408.
The statutory predicates for the relief sought herein are Section 327 of the Bankruptcy
Code, Rule 2014 of the F ederal Rules of Bankruptcy Procedure and Rule 2014-a of the
Local Rules of the United States Bankruptcy Court for the Southem District of New
York.

III. THE NEED FOR COUNSEL
The Debtor requires the services of the Firm, inter alia, to: (I) assist in the administration
of his Chapter ll proceeding, the preparation of operating reports and complying with
applicable law and rules, (ii) set a bar date, review claims and resolve claims which should
be disallowed; (iii) address issues relating to the gathering of the estate’s assets and their
sale, and (iv) assist in reorganizing and continuing a Chapter l l plan.
The Firm will make proper Applications for Compensation, with full disclosure Prior to
the filing, the Firm received total payments of$9500 from the Debtor, plus $1717 for the
Filing Fee. $2500 was drawn down prior to the filing, in payment of bankruptcy petition
preparation efforts, and $7000 remains in the Maciag Law LLC Attomey Trust Account,

as against future Applications for Compensation to be filed in this case. No funds were

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owed to The Firm upon our retention to tile Chapter l 1. The bulk of the pre-filing work
was performed in April 2018, whereupon the Debtor reviewed and signed the petition,
affidavit, list of assets and liabilities and other schedules. Payment was drawn down
commensurate with the work that was performed As of the filing, no amounts were due
The Firm. In the opinion of theFinn, since the $2500 constituted “fees for bankruptcy
preparation” and not for prior work, said payment would not be considered a preference
item. ln re: Pillowtex, Inc., 304 F. 3d 246 (3rd Cir. 2002 ).

The Firm intends to bill the Debtor at our standard rates, presently Thaddeus R. Maciag
Esq. $475 per hour; and paralegal time $75 per hour.

The Debtor has selected the Firm for the reason that it is experienced in Chapter 11. _
Thaddeus R. Maciag was admitted to the bar in 1981, and is experienced in Chapter l l
Reorganization law, having served as Lead Attomey to the Debtor-in-Possession in more
than 95 Chapter 1 1 bankruptcy cases over the past 27 years. It is accordingly submitted
that the Firm is qualified to represent the Debtor in this proceeding

The Firm does not represent any interest adverse to the interest of the Debtor or his estate
in the retention upon which it is to be engaged The Firm has no relationship with the
0ffice of the United States Trustee or any of its staff.

No agreement or understanding exists between The Firm and any other person, other than
as permitted by Section 504 of the Bankruptcy Code, to share compensation received for
services rendered in connection with this/these case(s), nor shall The Firm share or agree

to share compensation received for services rendered in connection with this case with any
other person other than as permitted by Section 504 of the Bankruptcy Code . Local New

York counsel Fazzio Law would be separately compensated for the professional time they
spend on the case; our agreement with the Debtor is that Fazzio Law and Maciag Law will

not bill for duplicate work, nor will we bill for inter-attorney communications

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IV. THE FIRM IS DISINTERESTED

Bankruptcy Code Section 327(a) provides in relevant part that a debtor, “with the court’s
approval, may employ one or more attorneys, accountants, auctioneers, or other
professional persons, that do not hold or represent an interest adverse to the estate, and
that are disinterested persons . . . .” The Debtor in this case proposes to employ one or
more attomeys, i.e., the Maciag Law firm (experienced Chapter 11 counsel) and our
proposed co-counsel Fazzio Law (local New York counsel) who had previously
represented the Debtor in other legal matters.

A “disinterested person,” as the term is defined in Bankruptcy Code Section 101(14)
means a person that:

Does not have an interest materially adverse to the interest of the estate
or of any class of creditors or equity security holders, by reason of any
direct or indirect relationship to, connection with, or interest in, the
debtor . . . ., or for any other reason .
Rule 2014(a) of the F ederal Rules of Bankruptcy Procedure sets forth the requirements

for any professional that seeks to be employed pursuant to Section 327(a). Rule 2014(a)
provides as follows:

(a) Application for an order of employment An order approving the
employment of attomeys, accountants, appraisers, auctioneeis, agents,
or other professionals pursuant to 327. . . shall be made only on
application of the trustee or committee The application shall be filed
and . . . . a copy of the application shall be transmitted by the applicant
to the United States trustee. The application shall state the specific
facts showing the necessity for the employment, the name of the
person to be employed, the reasons for the selection, the professional
services to be rendered, any proposed arrangement for compensation,
and, to the best of the applicant’s knowledge, all of the person’s
connections with the debtor, creditors, any other party in interest, their
respective attorneys and accountants, the United States trustee, or any
person employed in the office of the United States trustee. The

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application shall be accompanied by a verified statement of the person
to be employed setting forth th_e person’s connection with the debtor,
creditors, any other party in interest, their respective attorneys and
accountants, the United States trustee, or any person employed in the
office of the United States trustee.

16. The Firm respectfully submits that the Firm is disinterested lt has no interest adverse to
the Debtor or any other party in interest.

l7. Moreover, the Firm has made the requisite showing required by the Bankruptcy Rule
2014(a). See Affinnation of Thaddeus R. Maciag Esq., as filed herewith.

18 Because the facts and circumstances set forth herein do not present novel issues of law,
it is respectfully requested that the requirement of fi ling a memorandum of law be waived.
WHEREFORE, the Debtor respectfully requests that this Court enter the order, in the

form annexed hereto, authorizing the Firm to act as Debtor’ s counsel nunc pro tunc as of the April

26, 2018 Petition Date, with compensation for such legal services to be paid upon application to

this Court, and for such other and further relief as is proper andjust.

Respectf`u|ly submitted,

ACIAG W, L C
>§/ ad eus Maciag

Thaddeus R. Maciag, Esq.
Proposed Counsel to the Debtor

MAciAG LAW, LLC
475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

   
   
  

Date: June 21, 2018

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

Thaddeus R. Maciag, Esq.

MAciAG LAW, LLC

475 Wall Street

Princeton, New .lersey 08540

(908) 704-8800

Proposed Counsel to the Debtor-in-Possession

 

 

In re: Case No.: 8-18-72852-reg

DOREEN HoFFMAN, Chapter l l

Debtor'm'POssesslon' Judge: Hon. Robert E. Grossman

 

 

ORDER
AUTHORIZING THE DEBTOR TO EMPLOY
MACIAG LAW, LLC AS COUNSEL FOR THE DEBTOR

Upon the Application of Doreen Hoffman, the debtor and debtor-in-possession herein
(the “Debtor”), requesting authorization to retain Maciag Law, LLC, to represent the Debtor
herein, and further upon the Declaration of Thaddeus R. Maciag, Esq. as annexed to the
Application; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;
and this being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper
before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; it appearing that Maciag Law LLC
represents no interest adverse to the Debtor or its creditors herein, and that its employment is
necessary and in the best interest of the estate, and after due deliberation and sufficient cause
appearing therefore, it is
ORDERED, that the Application is granted as set forth herein, and it is further
ORDERED that, pursuant to § 327(a) of the Bankruptcy Code, the Debtor is authorized to
retain Maciag Law LLC as attorneys in this case, nunc pro tunc to April 26, 2018; and it is

further

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ORDERED that the compensation and reimbursement of expenses of Maciag Law LLC shall
be sought upon, and paid only upon an order granting, a proper application pursuant to §§330
and 331 of the Bankruptcy Code, as the case may be, and the applicable Bankruptcy Rules,
Local Rules and fee and expense guidelines and orders of this Court; and it is further
ORDERED that at least ten days before implementing any increase in the rates of Maciag Law
LLC’s professionals providing services in this case, Maciag Law LLC shall file and serve on
the United States Trustee and any official committee a supplemental affidavit providing
justification for any such rate increases and stating whether the Debtor has agreed to them. All
parties in interest retain the right to object to any rate increase on any grounds; and it is further
ORDERED, that Maciag Law LLC shall apply any remaining amounts of its prepetition
retainer, if any, as a credit toward post-petition fees`and expenses, after such post-petition fees
and expenses are approved pursuant to the first order of the Court awarding fees and expenses
to the Firrn; and it is further.

ORDERED that the Court shall retain jurisdiction to hear and determine all matters arising
from the implementation of this Order; and it is further

ORDERED that if there is any inconsistency between the terms of this Order, the Application,
and the supporting Affidavit, the terms of this Order shall govem.

Dated: Central Islip, N_ew York , 2018

 

Hon. ROBERT E. GROSSMAN
UNITED STATES BANKRUPTCY JUDGE

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lN THE UNITED STATES BANKRUPTCY

COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

Irr Re:
Doreen Hoffman

Debtor(s)

 

 

Chapter 11

Bankruptcy Case: 18-72852

AEEIDAYIT_QESEB¥!QE

I, John P. Fazzio III, hereby aflirm, under the penalty of perjury, that a true and correct
copy of the within Rule 1007 Affidavit, Notice of Motion to Admit Counsel Pro Hac Vice with
Afiidavit and Proposed Order, Notice of Motion Employ Bankruptcy Counsel ‘I`haddeus R.
Maciag as Co~Counsel with Application, Aflin'nation, and Proposed Fonn of Order, together
with this Certificate, was sent by first class, postage prepaid mail on the Creditor Counsel and
the Trustee and all other required parties i_n accordance with the R_ules of Bankruptcy Procedure

on the date set forth below.

Henry Weinstein
37 Maple Avenue
Cedarhurst, NY 11516

New City Funding Corp.
PO Box 121
Stony Point, NY 10980

Rushmore Loan Management
PO Box 52708
Irvine, CA 92619

Suffolk County Water
2045 Route 1112, Suite 5
Coram, NY 11727

US Bank NA as Legal Title Trustee
200 Business Park Drive
Annonk, NY 10504

U.S. Interna.l Revenue Service
PO Box 804527
Cincinnati, OH 45280~4527

AMCMA
4 Westchester Plaza, Suite 110
Elmsford, NY 10523

American Medical Collection
4 Westchester Plaza

via ECF and First Class Mail
via ECF and First Class Mail
via ECF and First class Mail
via ECF and First Class Mail
via ECF and First Class Mail
via ECF and First Class Mail
via ECF and First Class Mail

via ECF and First Class Mail

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Elmsford, NY 10523

Credit Collections Services
725 Canton Street
Norwood, MA 02062

Credit One Bank
PO Box 60500
City of Industry, CA 91715

Excluder Security Systems
PO Box 1286
Massapequa, NY 11758

Fazzio Law Oflices
164 Franklin Tumpike
Mahwah, NJ 07430

Joyce Ciccone
9337 Santa Monica Way
New Port Richey, FL 34655

Lennox Hill Hospital
co-Autornated Financial

4505 Veterans Mem. Hwy, Ste H
Lake Ronkonkoma, NY 11779

LI Anesthesiologist
3 Boyle Road
Selden, NY 11784

Linda Cerami
107 Laurel Street .
Patchogue, NY 11772

Mullen & Iannarone PC
300 East Main Street
Smithtown, NY l 1787

NY State Dept. of Taxation
NYS Assessment Receivables
PO Box 4127

Binghamton, NY 13902-4127

National Grid
PO Box 11791
Newark, NJ 07101

Optimum Cable Vision
11 1 l Stewa.rt Ave.
Bethpage, NY 11714

PSEG-LI
PO Box 888
Hicksville, NY 1 1802

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Quest Diagnostics via ECF and First Class Mail
PO Box 7308
Hollister, MO 65673-7308
Stewart Brody DDS via ECF and First Class Mail
c-o Richard Sokoloff Esq.
900 S. 2nd Street, Suite 1
Ronkonkoma, NY 11779
FAZZIO LAW OFFICES
Date: 06/21/2018 BY: /s/ John P. Fazzio IIl Es uire
Fazzio Law Offices
164 Franklin Tpke
Mahwah, NJ 07430

Tel. 201-529-8024
A!torney for Debtor

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UN1TED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Thaddeus R. Maciag, Esq.

MACIAG LAW, LLC

475 Wall Street

Princeton, New .lersey 08540
(908) 704-8800

Proposed Counsel to the Debtor-in-Possession

 

ln re: Case No.: 8-18-72852-reg
DOREEN HOFFMAN, Chapter ll
Debtor-in-Possession. Judge: Hon. Robert E. Grossman

 

 

 

AFFIRMATION OF THADDEUS R. MACIAG, ESQ.
IN SUPPORT OF APPLICATION FOR ENTRY OF
AN ORDER AUTHORIZING THE RETENTION
OF MACIAG LAW, LLC AS COUNSEL FOR THE DEBTOR

Thaddeus R Maciag, Esq., of full age, an attorney at law who has a pending application

to appear pro hac vice in this court, affirms the following under penalty of perjury:

1. I am an attorney at law, and I am the principal of the law firm Maciag Law, LLC (the
“Finn”).

2. The F irm maintains its primary office for the practice of law at 475 Wall Street, Princeton,
N.J. 08540.

3. The Firm is a disinterested person, as that term is defined in 11 U.S.C. § 101(14) of the
Bankruptcy Code, in that it:

a. is not a creditor, equity security holder, or insider of the debtor:

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b. is not, was not within two years before the date of the filing of the petition (and

has never at any time been) a director, officer or employee of the debtor; and

c. does not have any interest materially adverse to the interest of the estate, of

any class of creditors or equity security holders, by reason of any direct or indirect

relationship to, connection with, or interest in, the debtor or for any other reason;

and

d. does not have any connection with the United States Trustee, or any person

employed in the Office of the United States Trustee,
The_ undersigned is experienced in Chapter 11 Reorganization, having served_as Lead
Attomey for the Debtor-in-Possession in more than 95 Chapter 1 1 cases over the past 27
years; 1 am the attorney who will bear primary responsibility for the representation of the
Debtor herein; the Firm and any associates, paralegals or legal assistants, are individuals
who also fulfill the description in the following paragraphs
No agreement or understanding exists between F irm and any other person, other than as
permitted by Section 504 of the Bankruptcy Code, to share compensation received for
services rendered in connection with this/these case(s), nor shall Firm share or agree to
share compensation received for services rendered in connection with this case with any
other person other than as permitted by Section 504 of the Bankruptcy Code. Local New
York counsel Fazzio Law would be separately compensated for the professional time they
spend on the case; our agreement with the Debtor is that Fazzio Law and Maciag Law will
not bill for duplicate work, nor will be will for inter-attorney communications

To the best of the undersigned’s knowledge, the Firm does not have any interests that are

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adverse or could otherwise present a conflict between Firm or its attomeys, and the
Debtor. ln add ition, the undersigned has reviewed the current list of creditors and believes
that no conflicts exist between Firm or its attomeys, the Debtor’s creditors and the estate,
other than that our proposed co-counsel Fazzio Law previously represented the Debtor
in other legal matters prior to this case being filed.

Thaddeus R. Maciag, Esq. conferred with the Debtor on several occasions, to discuss
workout options, loan modifications and the possibility of filing a Chapter 11
Reorganization petition,

The Firm will make proper Applications for Compensation, with full disclosure. Prior to
the filing, the Maciag Law Firm received total payments total payments of $9500 from the
Debtor, plus $1717 for the Filing Fee. Of that sum, $2500 was drawn down prior to the
filing, in payment of bankruptcy petition preparation efi`orts, and $7000 remains in the
Maciag Law LLC Attorney Trust Account, as against future Applications for
Compensation to be filed in this case. No funds were owed to The Firm upon our retention
to file Chapter 11. The bulk of the pre-filing work was performed in April 2018,
whereupon the Debtor reviewed and signed the petition, affidavit, list of assets and
liabilities and other schedules Payment was drawn down commensurate with the work that
was perfonned. As of the filing, no amounts were due The Firm. In the opinion of the
Finn, since the $2500 constituted “fees for bankruptcy preparation” and not for prior
work, said payment would not be considered a preference item. ln re: Pl'llowtex, Inc., 304
F. 3d 246 (3rd Cir. 2002 ).

Disclosure of Compensation per ll U.S.C. §329(a) and Fed.R.Bank.P. 201‘6(b): A

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standard form Disclosure of Attorney Compensation for Maciag Law LLC was prepared
and signed on April 26, 2018 at the time of filing of the Petition. I-Iowever, due to a
technical ECF-filing glitch on that date, our proposed co-counsel Fazzio Law was unable
to successfully ECF-file the Petition and Schedules, but instead hand-filed the Petition at
the Courthouse in light of the upcoming foreclosure sale the following moming. In the
course of that rushed filing, apparently the Disclosure of Attorney Compensation, which
had been prepared for inclusion in the ECF-filing package, did not get included in the
hand-filed package. That oversight was thereafter corrected and that standard disclosure
form, as originally prepared on April 2_6, 2018 with the Petition, has since been duly ECF- t
filed on the Pacer docket.

As of the date of the Petition Debtor did not owe The Firm any funds. The Firm will
maintain time records of services rendered in connection with the case. The Firm will also
file the appropriate fee applications on an ongoing basis in accordance with the local rules
so that Court can review said applications for interim and final compensation,

The F irm is willing to be retained by the Debtor as counsel and will bill at our regilar
hourly rates of $475 for Thaddeus R. Maciag, Esq. (admitted 1981); and $75 for
paralegals or legal assistants. In the event said rates increase and this case is still pending
at that date, the Firm will notify the Debtor, the Office of the U.S. Trustee and the Court
of any increased rates, in accordance with the administrative guidelines In addition, Firm
intends to seek reimbursement of certain expenses it will incur, which will be included in
the fee applications to be filed in this case.

The Debtor has selected the Firm for the reason that it is experienced in Chapter 11.

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Thaddeus R. Maciag was admitted to the bar in 1981, and is experienced in Chapter 1 1
Reorganization law, including Mr. Maciag having personally served as Lead Attorney to
the Debtor-in-Possession in more than 95 Chapter 1 1 Reorganization cases over the past
27 years, and Mr. Maciag having represented clients in more than 120 Chapter l l cases.
13. For the above reasons, it is respectfully submitted that the Firm is qualified to represent
the Debtor in this proceeding, and is competent to represent the interests of the Debtor on
whose behalf representation is now sought in all proceedings now pending or which may

reasonably be expected to be pending in this Court in the foreseeable future.

Respectfully submitted,

 
   
    
  

s/ had eus R. Maciag
Thaddeus R. Maciag, Esq.

Proposed Counsel to the Debtor
MACIAG LAW, LLC

475 Wall Street

Princeton, New Jersey 08540

(908) 704-8800
Date: June 21, 2018

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